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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

PRIDE HOUSTON, INC.,                               §
                                                   §
              Plaintiff,                           §
                                                   §
v.                                                 §       Civil Action No.
                                                   §
THE NEW FACES OF PRIDE                             §
HOUSTON, INC.,                                     §
                                                   §
              Defendant.                           §


     Plaintiff’s Original Complaint and Application for Temporary Restraining Order,
           Temporary Injunction, Permanent Injunction, and Declaratory Action


TO THE HONORABLE JUDGE OF THIS COURT:

       COMES NOW, Pride Houston, Inc., Plaintiff in the above-styled and numbered cause

(“Plaintiff”), and files this, its Original Complaint and Application for Temporary Restraining

Order, Temporary Injunction, and Permanent Injunction, and Declaratory Action against The

New Faces of Houston Pride, Inc. (“Defendant”), and in support of same would respectfully say

and show this Honorable Court the following:

                                            I.
                                   NATURE OF THE ACTION

1.     This is an action for violations of Sections 32 and 43 of the Lanham Act for false

designation and origin, false descriptions and representations in interstate commerce, and

dilution of trademark under Section 43 of the Lanham Act. 15 U.S.C. §§ 1114 and 1125.

2.     Plaintiff also brings causes of action for unfair competition, common law unfair

competition, declaratory relief, and exemplary damages, as well as seeks recovery of attorneys’
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fees and litigation costs in connection with same.

3.       Plaintiff further seeks the imposition of the temporary restraining order, temporary

injunction, and permanent injunction respectfully requested herein, as well as performance of

the declaratory action described further below.

                                                II.
                                              PARTIES

4.       Plaintiff Pride Houston, Inc., is a Texas non-profit corporation that does business within

the State of Texas. Plaintiff may be reached and served with process care of counsel, Jamison

B. Walters, Kearney, McWilliams & Davis, PLLC, 55 Waugh Drive, Suite 150, Houston, Texas

77007.

5.       Defendant The New Faces of Pride Houston, Inc., is a Texas non-profit corporation

which has engaged in the publication of its services so as to violate and infringe Plaintiff’s

federally registered Trademarks and unfairly compete with Plaintiff’s services offered in

relation to same. Defendant may be reached and served with process through its registered

agent, Lori Hood, 2900 N. Loop W., Suite 500, Houston, Texas 77092.

                                                III.
                                    JURISDICTION AND VENUE

6.       This Court has original jurisdiction over this matter pursuant to the Trademark Act of

1946, 15 U.S.C. 1051, et seq., and 28 U.S.C. 1338(a) because this claim arises under an Act of

Congress relating to trademarks and unfair competition. Jurisdiction is also proper in this

matter under 28 U.S.C. §§ 1331, 1338(a) and (b), and 1367.

7.       Venue is proper pursuant to 28 U.S.C. §§1391(b) and (c) as all parties to this civil action

are residents of, or transact business in, the Southern District of Texas. Further, a substantial


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part of the events giving rise to the claims involved in this lawsuit occurred in Houston, Texas,

and the intellectual property at issue is located in, and owned by corporate entities

headquartered within, Houston, Texas.

                                            IV.
                                    FACTUAL BACKGROUND

10.     Plaintiff is a nationally and locally known entertainment service provider. Specifically,

Plaintiff’s services include the planning, marketing, and facilitation of social events such as

festivals, parades, fashion shows, night-life events, and community engagement events

(collectively, hereinafter “Plaintiff’s Pride Events”) specifically catered to individuals residing

within and outside of Houston, Texas, who identify as lesbian, gay, bisexual, transgender,

queer, intersex, asexual, and/or otherwise non-heterosexual and/or non-gender conforming

(collectively, hereinafter the “LGBTQ+ Community”), as well as their social and civil allies.

Plaintiff’s federal trademarks, identified below, are registered under goods and services related

to promoting public awareness of the need for diversity and equal rights in a community

comprising LGBTQ-identifying people, as well as to commemorating and celebrating the

history of the gay and lesbian communities. Exhibit 1 – Declaration of Kendra Walker; see

also Exhibits 2-6, referenced immediately below.

11.     Plaintiff is the owner of the following trademarks registered with the United States

Patent and Trademark Office (“USPTO”), attached hereto as Exhibits 2-6 as identified below

(“Trademarks”):

              Trademark                    Registration Date     Registration No.     Exhibit No.

            Pride Houston                 February 12, 2008          3380987                 2



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         Houston Pride Festival1            October 17, 2017          5313882                  3

          Houston Pride Parade2             October 17, 2017          5313881                  4

    Houston LBGT Pride Celebration            April 23, 2019          5732151                  5

        Pride Houston Celebration           October 19, 2021          6530464                  6
1
    – also subject to USPTO pending application serial number 98/164,242
2
    – also subject to USPTO pending application serial number 98/164,346

12.      Plaintiff has been in continuous operation since September 1991, first under the business

name Pride Committee of Houston, Inc., and has operated as Pride Houston, Inc. since March 9,

2005. Exhibit 7 – Articles of Incorporation)and Amendment for Name Change. Over the past

thirty-two (32) years, Plaintiff has become incredibly well-known among LGBTQ+

communities and their allies, both nationally and internationally. Plaintiff’s Pride Events have

been exceptionally well-received by these communities and have gained significant recognition

among the general public, comprising over seven hundred thousand (700,000) participants each

year between its various Houston events. Exhibit 1.

13.      Several of Plaintiff’s trademarks have achieved § 2(f) designation by having acquired

such distinctiveness that consumers directly associate said Trademarks with Plaintiff, and two

(2) of said Trademarks are currently pending § 2(f) acceptance. Exhibits 2 - 6; see 37 C.F.R.

§2.41; TMEP §§1202.03(d), 1212.06 et seq.

14.      Plaintiff’s popularity and success result from Plaintiff’s proven ability to deliver quality

Plaintiff’s Pride Events through continued development and marketing of Plaintiff’s well-

established and federally-protected brand. Plaintiff enjoys tremendous success, widespread

visibility, and goodwill throughout the United States including the popularity and widespread



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recognition of Plaintiff’s trade name by various media outlets and the numerous positive

endorsements of Plaintiff’s Pride Events. Exhibit 1. Through Plaintiff’s Pride Events and other

points of exposure, the public has come to recognize and to trust Plaintiff’s brand and trade

name. Exhibits 1; 7.

15.     The relationships between Plaintiff and the members of Defendant’s current executive

board began several years before the initiation of this lawsuit. Exhibit 1. During this time,

several of Defendant’s board members served as board members for Plaintiff or otherwise

assisted Plaintiff in organizing, marketing, and facilitating Plaintiff’s Pride Events. Exhibit 1.

Plaintiff’s Pride Events, namely, for example, its “Houston Pride Parade” and “Houston Pride

Festival,” have been incredibly successful and highly anticipated throughout LGBTQ

communities locally and nationally. During Kendra Walker’s tenure with Plaintiff, however,

Defendant’s Directors and employees, Dustin Scheffield, Monte Bacchus, Donald James, Jill

Maxwell, and Andrew Simonton, became dissatisfied with Plaintiff’s management, which led to

internal disputes and complaints against Plaintiff’s current and former leadership. Defendant’s

board members subsequently left Plaintiff’s employ and created a new organization named “The

New Faces of Pride.” Exhibit 8 – Certificate of Formation of The New Faces of Pride. While

Plaintiff interpreted Defendant’s original business name as an intended slight towards Plaintiff’s

management, Plaintiff did not immediately view said name as legally problematic.

16.     However, soon after its initial formation, Defendant changed its business name to “The

New Faces of Pride Houston,” which immediately infringed Plaintiff’s brand and trade name of

“Pride Houston.” Exhibit 9 – Certificate of Amendment for New Faces of Pride Houston.

Defendant’s name change also immediately indicated to Plaintiff that Defendant had committed


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the name change with the clear intent to cause confusion, or imply association, with Plaintiff’s

“Pride Houston” brand and trade name. Exhibits 8, 9. Defendant’s publication of its name in

relation to Plaintiff’s Pride Events for the LGBTQ+ Community also blatantly infringes upon

Plaintiff’s Trademarks.

17.     Defendant’s business name is unregistered with the United States Patent and Trademark

Office (“USPTO”) as of the date of this complaint. However, Defendant’s business name is

featured on Defendant’s related Facebook and Instagram pages and posts, and in at least three

(3) Houston news publications, including OutSmart Magazine and the Houston Business

Journal, which are also featured within Defendant’s social media accounts. Exhibit 10 – Pride

Houston Infringement Specimens; Exhibit 11 - Outsmart Magazine Article: “Will Houston Have

Two Pride Celebrations” dated October 19, 2023 (the “Outsmart Article”); Exhibit 12 –

Houston Business Journal Article: “Exclusive: Houston’s newest LGBTIA+ nonprofit aims to

celebrate Pride year-round” dated October 4, 2023 (the “HBJ Article”).

18.     With the Houston Business Journal article announcing the existence and purpose of

Defendant’s intended business operations, Defendant began publicizing its intention to host a

competing parade and festival for Pride Month in Houston under its infringing business name.

Exhibits 10, 11, 12. Soon after, Defendant began marketing its own version of social events as

the “Houston Pride Parade and Festival” which clearly infringes upon Plaintiff’s Pride Events

and related Trademarks. Exhibit 13 – Houston Pride Parade and Houston Pride Festival

Infringement Examples; Exhibits 2, 3, 4.

19.     Plaintiff has invested, and continues to invest, significant time, effort, and sums to build

and maintain the quality and the image of its brand and trade name. The success of Plaintiff’s


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brand and trade name is demonstrated by the dramatic and consistent increase in sales of

Plaintiff’s affiliated Pride Events, such as the “Houston Pride Parade” and “Houston Pride

Festival.” By unlawfully copying and trading on Plaintiff’s brand and trade name, for its own

competing social events, Defendant has both violated the federally protected intellectual

property rights of Plaintiff and disrupted Plaintiff’s consumer base and business relationships.

Defendant’s actions amount to nothing more than an impermissible attempt to fraudulently

associate itself with Plaintiff’s brand, trade name, and Trademarks in order to unfairly compete

with Plaintiff and abscond with the public recognition and business relationships that Plaintiff

has arduously earned over its many years of continued success. Exhibit 1.

20.     Defendant continues to demonstrate its intent to misappropriate Plaintiff’s Trademarks

and goodwill by promoting its own competing social events intended to hijack and diminish

Plaintiff’s Pride Events. For example, Defendant has scheduled its own “Houston Pride Parade

and Festival” to occur one (1) week before Plaintiff’s “Houston Pride Parade” in order to

unlawfully undercut the impact and attendance generated through same—even going so far as to

exactly replicate the parade route itself. Exhibit 11; Exhibit 14 – Houston Pride Parade Map

and Event Date; Exhibit 15 – New Faces of Pride Houston Pride Parade and Festival, Date and

Parade Map. Given the distinctive Trademarks maintained by Plaintiff and the significant

Plaintiff’s Pride Events associated with same, Defendant’s actions blatantly infringe upon

Plaintiff’s intellectual property rights.

21.      Defendant is further engaged in several other infringing activities, including

publication of Defendant’s infringing, competing social events with the likeness and function of

Plaintiff’s Pride Events under a confusingly similar name. Exhibits 10, 13, 15. In fact, Plaintiff


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has been inundated with a series of communications from vendors, donors, and consumers

seeking to clarify their actual confusion about the potential connection or relationship between

Plaintiff and Defendant. Exhibit 16 – Confusion Communications Due to Infringement. Despite

there being absolutely no such connection or relationship between Plaintiff and Defendant, the

continuous infringing actions of Defendant has caused these parties to incorrectly believe there

is a rebranding or an affiliation between the two. Exhibit 16.

22.     More specifically, but without limitation, Plaintiff’s customers, as well as several other

third parties, have contacted Plaintiff concerning Defendant’s publication and marketing efforts

of Defendant’s infringing social events because of the confusing similarity in the likeness and

trade names used by Defendant with same, as well as the closeness in time between Defendant’s

infringing pride parade and Plaintiff’s Houston Pride Parade. Exhibits 13, 14, 15; Exhibit 17 –

Houston Public Media Article: Houston’s feuding Pride organizations planning two separate

events for June 2024 .

23.     Defendant is keenly aware that its unauthorized use of Plaintiff’s brand, trade name, and

Trademarks would result in an unfair benefit to Defendant, who willfully and intentionally

selected a confusingly similar business name, event names, and social media tags to promote

Defendant’s services and events. Exhibit 10. Defendant is engaged in infringing activities,

including organizing and marketing events and services under a brand name that bears the

likeness and image of Plaintiff’s organization and trade name. Id. Defendant has gone so far as

to refer to itself as “Official Houston Pride” on its social media accounts, such as Instagram,

despite having only been formed less than four (4) months prior to this filing, in order to appear

as the rebranded version of, or otherwise affiliated with, Plaintiff’s historic and successful brand


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when it is not. Exhibits 8, 10, 13.

24.     Defendant’s conduct stands in violation of applicable federal laws as it has caused actual

confusion, is likely to continue to do so, and is unlawfully intended to confuse, cause mistake,

or deceive consumers as to the source, affiliation, sponsorship, license, and origin of the events

planned, organized, marketed, and facilitated by Defendant. Exhibits 9, 10, 11, 13, 17.

25.     Defendant’s actions nullify Plaintiff’s right to the exclusive use of its Trademarks free

from infringement. Defendant’s activities have had and will continue to have a substantial,

adverse effect on Plaintiff’s existing and projected future business and the marketing of

products and services identified by Plaintiff’s registered Trademarks, as well as the goodwill of

Plaintiff’s business inherently associated with the use of, and symbolized by, Plaintiff’s

protected “Pride Houston” brands, including those of its staple “Houston Pride Parade” and

“Houston Pride Festival.” Finally, and upon information and belief, Defendant is marketing

their organization with the name “The New Faces of Pride Houston” with the specific design to

siphon off brand recognition from Plaintiff.

26.     Plaintiff attempted to resolve the claims raised in this civil action without the need for

judicial involvement by delivering written demand that Defendant immediately cease the

infringing activity and conduct described herein. Rather than open a meaningful dialogue

intended to achieve an amicable resolution, Defendant has rebuffed Plaintiff’s communication

attempts and instead taken to local news media to lambast same in furtherance of Defendant’s

obvious desire to disparage and defame Plaintiff’s successful “Pride Houston” brand and trade

name, Plaintiff’s Trademarks, and Plaintiff’s Pride Events. Exhibits 11, 12, 16; Exhibit 18 –

Declaration of Erik J. Osterrieder; Exhibit 19 – October 11, 2023 Cease and Desist Letter;


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Exhibit 20 – October 12, 2023 email exchange between E. Osterrieder and Lori Hood, legal

counsel for Defendant.

27.     In order to enforce and protect Plaintiff’s legal rights and the federal protection provided

for Plaintiff’s registered intellectual property, Plaintiff had no choice but to bring the instant

civil action and request for injunctive and declaratory relief in an attempt to completely

discontinue the unlawful activity of Defendant.

                                              V.
                                       CAUSES OF ACTION

        A.     Count One: Trademark Infringement

28.     Plaintiff reasserts the allegations contained in Paragraphs 1 through 27 of this Complaint

by reference as if set forth verbatim herein and requests relief from this Court for Plaintiff’s

trademark infringement causes of action of each trademark listed in Paragraph 11.

29.     Plaintiff’s claims arise from Sections 32 and 43 of the Lanham Act for infringement of

registered and unregistered trademarks. 15 U.S.C. §§1114 and 1125.

30.     Defendant has intentionally and knowingly copied and/or used confusingly similar

marks as compared to at least Plaintiff’s distinctive “Pride Houston” trademark, “Houston Pride

Parade” trademark, and “Houston Pride Festival” trademarks through the purchase and

dissemination of certain internet advertisements for Defendant’s business name, “The New

Faces of Pride Houston,” and competing social events advertised by Defendant in association

with same. Defendant’s wrongful advertisements are both insidious and unlawful in that they

are automatically displayed upon Plaintiff’s internet consumers searching for the keywords

contained in Plaintiff’s Trademarks. Said intentional and wrongful conduct occurred in the



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course of Defendant’s commercial and advertising activities. Furthermore, Defendant’s junior

and unregistered marks are confusingly similar to Plaintiff’s senior and registered trademarks in

sight, sound, connotation, commercial impression, services, trade channels, and targeted

consumers.

31.     Specifically, Defendant has implemented this unlawful advertising campaign by using

certain advertising words and social media tags, namely, Plaintiff’s “Pride Houston” business

name and Plaintiff’s “Houston Pride Parade” and “Houston Pride Festival” trademarks, and this

has caused Plaintiff’s consumers, who were already acutely aware of Plaintiff’s now-active

“Houston Pride Parade” event registration, to be confused about the source and affiliation of

Plaintiff’s Pride Events and Defendant’s infringing social events.        Thus, any consumer

searching for Plaintiff’s “Pride Houston’ business name or event registration is likely to be

wrongfully directed to Defendant’s advertisement for Defendant’s “The New Faces of Pride

Houston” business name and related social events.

32.     Further, through this unlawful misdirection, Defendant has effectively advertised and

represented to Plaintiff’s consumers that Defendant is Plaintiff’s successor organization despite

there being no connection or relationship between them.         Similarly, at all times during

Defendant’s wrongful implementation of this unlawful advertisement and infringement scheme,

Plaintiff’s “Pride Houston” trademark was not in any way related or associated with

Defendant’s infringing business name or events, nor was Plaintiff’s business name or

Trademarks authorized or licensed to Defendant in any capacity whatsoever.

33.     Given the significant and obvious similarities Defendant stole from Plaintiff’s

Trademarks and incorporated into Defendant’s marketing for “The New Faces of Pride


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Houston,” Plaintiff contends Defendant intended for Defendant’s business name and marketed

Pride Events to be “passed off” as Plaintiff and Plaintiff’s Pride Events, respectively. Exhibits

10, 11, 12, 13, 15, 16, 17. The unauthorized use of Plaintiff’s Trademarks falsely indicated to

consumers that Defendant’s business and related community events originated from, was

approved, sponsored or licensed by, or affiliated with Plaintiff and/or Plaintiff’s business and

Trademarks when it is not.

34.     Plaintiff has not licensed the use of its Trademarks to Defendant. Plaintiff’s “Houston

Pride Parade” and “Houston Pride Festival” registrations are hosted and marketed primarily

online largely through the use of various social media platforms and electronic mail. Exhibit 1.

Defendant’s infringing marketing, promotion, and event-registration hosting activities are

likewise implemented over the internet and further marketed through various social media

platforms and electronic mail. Exhibits 10, 11, 12. Defendant’s “The New Faces of Pride

Houston” business name and related social events are thus presented to consumers through the

same or similar channels in which Plaintiff’s legitimate services are marketed and sold.

35.     Still further, without permission, license, or other authority of sponsorship, authority, or

endorsement from Plaintiff, Defendant infringed upon Plaintiff’s Trademarks in order to

undertake Defendant’s wrongful advertising campaign and also facilitate fundraising from

Plaintiff’s sponsors and donors under false pretenses. Through Defendant’s infringement, and

knowledge gained from prior employment and/or association with Plaintiff, Defendant is

unlawfully attempting to finance its competing social events through funds gained through illicit

and unauthorized affiliated with Plaintiff.       Defendant has organized its infringing and

confusingly similar named social events in violation of Plaintiff’s Trademarks within this


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district and throughout the United States.

36.     Prior to the several unlawful and infringing acts complained of herein:

        (i)     Plaintiff marketed Plaintiff’s “Pride Houston” brand and trade name with

                Plaintiff’s Trademarks for at least the past sixteen (16) years;

        (ii)    Plaintiff expended, and continues to expend, large sums of money to build,

                maintain, extend, and protect Plaintiff’s reputation, especially with regard to

                Plaintiff’s “Pride Houston” business name, Trademarks, and Plaintiff’s Pride

                Events;

        (iii)   Plaintiff engaged, and continues to engage, in intrastate and interstate activities

                designed to promote Plaintiff’s “Pride Houston” brand and trade name, the

                goodwill associated with same, as well as Plaintiff’s Trademarks, and Plaintiff’s

                Pride Events;

        (iv)    Plaintiff engaged, and continues to engage, in interstate activities designed to

                promote the business and goodwill identified by Plaintiff’s “Pride Houston”

                business name and Plaintiff’s Trademarks in interstate commerce, and to expand

                the use and reputation of Plaintiff’s business, Trademarks, and property

                throughout the United States;

        (v)     Plaintiff’s registered Trademarks have been, and continue to be, known in

                numerous states as marks identifying and distinguishing Plaintiff’s “Pride

                Houston” business name and Plaintiff’s Pride Events. Three (3) of five (5) of

                Plaintiff’s Trademarks have achieved § 2(f) designation by having acquired such

                distinctiveness that they consumers directly associate said Trademarks direction


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               with Plaintiff, and two (2) of the Trademarks are currently pending § 2(f)

               acceptance. Exhibits 2 - 6; see 37 C.F.R. §2.41; TMEP §§1202.03(d), 1212.06 et

               seq;

        (vi)   Plaintiff’s Trademarks are distinctive, and have been, and continue to be, known

               throughout the United States as identifying and distinguishing the business of

               Plaintiff;

37.     Defendant’s conduct is likely to cause confusion, cause mistake, or deceive consumers

as to the source and origin of “The New Faces of Pride Houston” marketed, advertised, and

organized by Defendant. Such confusion, mistake, or deception occurred in the course of

Defendant’s commercial and advertising activities. In fact, and as examples of likelihood of

confusion, Defendant’s activities have caused actual confusion with consumers as to the source

and origin of such products. Exhibit 16. More specifically, but without limitation, Plaintiff’s

customers, as well as various third parties, have mistakenly contacted Plaintiff concerning

Defendant’s infringing “The New Faces of Pride Houston” business name and related social

events because of the nearly identical likenesses between Plaintiff, its Trademarks, and

Plaintiff’s Pride Events. Id. This actual confusion is bolstered through Defendant’s wrongfully

infringing advertising scheme regarding Defendant’s trade name and related social events, as

well as the Defendant’s deliberate passing off of same as those of Plaintiff.        Exhibit 16.

Defendant’s acts operate to nullify Plaintiff’s lawful right to the exclusive use of Plaintiff’s

Trademarks free from infringement.

38.     Defendant’s activities have had, and will continue to have, a substantial, adverse effect

on Plaintiff’s existing and projected future interstate business of marketing products and


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services identified by Plaintiff’s Trademarks, as well as the goodwill of Plaintiff’s business

generated through the use of, and symbolized by, Plaintiff’s “Pride Houston” brand and trade

name and Plaintiff’s Trademarks.

39.     Defendant’s activities and conduct constitute infringement of Plaintiff’s registered and

common law trademarks in violation of Sections 32 and 43 of the Lanham Act. 15 U.S.C. §§

1114 and 1125.

40.     Plaintiff has been, and continues to be, damaged by Defendant’s activities and conduct.

Defendant has profited thereby and unless Defendant’s conduct is enjoined, Plaintiff’s goodwill

and reputation will continue to suffer irreparable injury that cannot be adequately calculated or

compensated solely by money damages.             Accordingly, Plaintiff seeks preliminary and

permanent injunctive relief pursuant to 15 U.S.C. § 1116.

41.     Because Defendant has been demanded in writing to immediately cease all infringing

activity and conduct prior to the initiation of this civil action, thereby providing Defendant with

notice of same. Defendant has not complied with such lawful demand without justification or

excuse. Thus, Defendant has intentionally and knowingly used Plaintiff’s Trademarks and,

accordingly, Plaintiff is entitled to a judgment of three (3) times its damages or Defendant’s

profits, together with reasonable attorneys' fees pursuant to 15 U.S.C. §§ 1117(a) and (b).

        B.     Count Two: Trademark Dilution

42.     Plaintiff reasserts the allegations contained in the preceding Paragraphs of this

Complaint by reference as if set forth verbatim herein and requests relief from the Court for

Trademark Dilution under Section 43(c) of the Lanham Act. 15. U.S.C. §1125(c).

43.     As a result of Plaintiff’s continuous promotion of Plaintiff’s “Pride Houston” brand and


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trade name, and Plaintiff’s associated intellectual property, at least three of Plaintiff’s

Trademarks have achieved recognition as a distinctive § 2(f)-designated trademarks. Exhibits 2

- 6; see 37 C.F.R. §2.41; TMEP §§1202.03(d), 1212.06 et seq.

44.     Defendant’s use in commerce of the deliberately misleading “The New Faces of Pride

Houston” business name, including marketing Defendant’s competing social evens, began after

Plaintiff’s had spent decades investing and strengthening Plaintiff’s Trademarks and Plaintiff’s

“Pride Houston” brand and trade name. Defendant’s deceptive use of “The New Faces of Pride

Houston” in both its marketing and organization has caused dilution of the distinctive quality of

Plaintiff’s Trademarks as such conduct constitutes wrongful commercial and advertising

activities. Such conduct has caused injury to Plaintiff pursuant to 15 U.S.C. § 1125(c).

45.     Defendant willfully intended to trade on Plaintiff’s reputation and goodwill and/or to

cause dilution of Plaintiff’s Trademarks.      Accordingly, Plaintiff is entitled to recover its

damages, as well as Defendant’s profits received as a result of the infringement pursuant to 15

U.S.C. § 1117(a).

46.     Unless Defendant’s conduct is enjoined, Plaintiff, including Plaintiff’s goodwill and

reputation and the significant value of Plaintiff’s Trademarks, will suffer irreparable injury that

cannot be adequately calculated or compensated solely by money damages.              Accordingly,

Plaintiff seeks preliminary and permanent injunctive relief pursuant to 15 U.S.C. § 1116 and 15

U.S.C. § 1125(c)(1) against Defendant.

        C.     Count Three: Unfair Competition

47.     Plaintiff reasserts the allegations contained in the preceding Paragraphs of this

Complaint by reference as if set forth verbatim herein and requests relief from this Court for


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Plaintiff’s trademark infringement cause of action pursuant to 15 U.S.C.§1125(a). Defendant’s

actions constitute unfair competition in violation of the Lanham Act. 15 U.S.C. §1125(a).

48.     Plaintiff is the owner of “Pride Houston,” “Houston Pride Parade,” and “Houston Pride

Festival,” all federally registered trademarks associated with Plaintiff’s “Pride Houston” brand

and trade name, as well as Plaintiff’s Pride Events, that Defendant has infringed upon, continues

to infringe upon, and expressed the intent to continue such unlawful infringement indefinitely.

Plaintiff’s Trademarks are distinctive. Plaintiff’s “Pride Houston” brand and trade name and

associated Trademarks gained substantial secondary meaning in commerce amongst Plaintiff’s

consumers and the general public.

49.     Through its own advertising and internet fundraising, and event names, Defendant is

infringing upon Plaintiff’s federally registered Trademarks in commerce without the

authorization of Plaintiff in a way that has caused consumer confusion as to Defendant’s

association or affiliation with Plaintiff’s “Pride Houston” business. This is especially true given

the history between several of Defendant’s officers, executives, and/or directors and Plaintiff.

Exhibit 1. Defendant, through Defendant’s prior engagement with Plaintiff, had uninhibited

access to Plaintiff’s business affairs and Plaintiff’s consumers. Capitalizing on that access and

familiarity, Defendant created an organization that wrongfully advertises to Plaintiff’s

consumers while diverting business away from, and discrediting, Plaintiff’s “Pride Houston”

brand, trade name, and related Trademarks. These actions constitute unfair competition in

violation of the Lanham Act, 15 U.S.C. § 1125(a).

50.     Such actions were intended to cause confusion, have caused confusion, and will

continue to cause confusion unless enjoined.        Defendant’s actions and use of Plaintiff’s


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Trademarks, or confusingly similar imitations thereof, suggest sponsorship, approval and/or

endorsement from Plaintiff which is wholly absent and must be enjoined. For each act of unfair

competition, Plaintiff is entitled to recover its actual damages as well as Defendant’s profits

from such infringement. Defendant’s acts have directly caused, and will continue to directly

cause, harm to Plaintiff.

51.     Monetary relief alone is not adequate to fully address the irreparable injury that

Defendant’s illegal actions have caused and will continue to cause Plaintiff if Defendant is not

enjoined from same. Plaintiff is therefore also entitled to preliminary and permanent injunctive

relief to terminate and further prevent Defendant’s ongoing unfair competition.

        D.     Count Four: Request for Declaratory Relief

52.     Plaintiff seeks a declaratory judgment recognizing that Plaintiff has full rights in and to

Plaintiff’s Trademarks pursuant to Tex. Civ. Prac. & Rem. Code §§ 37.001, et seq.; Fed. R. Civ.

P. 57; and 28 U.S.C. §§ 2201, 2202. Pursuant to said request, Plaintiff reasserts all allegations

contained within the preceding Paragraphs of this Complaint and incorporate same by reference

as if set forth verbatim herein.

53.     Defendant has represented to Plaintiff’s consumers that Defendant, rather than Plaintiff,

hold the rights to Plaintiff’s Trademarks or, alternatively, that Plaintiff’s Trademarks have been

incorrectly granted by the USPTO. An actual and justiciable controversy exists as to whether

Plaintiff has full rights in Plaintiff’s own Trademarks. This lawsuit is preventative in nature and

intended to ascertain the rights of parties when controversy has arisen prior to commission of

any wrong.

54.     Plaintiff requests the Court to declare rights, status, and legal relations between the


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parties with regard to Plaintiff’s rights in Plaintiff’s Trademarks. Such a declaration will

resolve the pending controversy and is appropriate in this instance. Plaintiff thus seeks a

declaratory judgment that: (a) Plaintiff has full rights in its own Trademarks; (b) Defendant’s

representations that Defendant, rather than Plaintiff, holds the right, or has superior rights, to

Plaintiff’s Trademarks is baseless, unfounded, and wholly untrue; (c) Defendant’s conduct

infringes upon Plaintiff’s Trademarks in violation of the Lanham Act; (d) that said violations

are causing Plaintiff to suffer immediate and unquantifiable harm, including confusion and

dilution of Plaintiff’s trademarks; and (e) that Defendant’s actions were willful and intended to

cause confusion, have caused confusion, and will continue to cause confusion unless enjoined.

        E.     Count Five: Common Law Unfair Competition

55.     Plaintiff reasserts the allegations contained in the preceding Paragraphs of this

Complaint by reference as if set forth fully herein and respectfully requests relief for Plaintiff’s

claim of unfair competition pursuant to the common laws of the State of Texas.

56.     Defendant’s actions constitute unfair competition pursuant to Texas common law, the

natural and probable consequence of which has been, and will continue to be, that the public is

confused, misled, and deceived by the unlawful similarity of Defendant’s “The New Faces of

Pride Houston” business and related social events to Plaintiff’s “Pride Houston” business,

Trademarks, and Plaintiff’s Pride Events, and that such persons who are seeking Plaintiff’s

services will be mistakenly led by that wrongful similarity to obtain or support Defendant’s

services.    This is especially true considering Defendant’s unlawful actions of diverting

Plaintiff’s supporters, vendors, consumers, and donors to Defendant’s articles, website, social

media accounts, and false advertisements. Exhibits 10 - 13, 15 - 17. Defendant’s actions are


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tortuous and unlawful and are designed to secure a commercial competitive advantage.

Defendant’s actions are contrary to honest and lawful practice in commercial matters.

57.     Defendant’s adoption and use of Plaintiff’s Trademarks and “Pride Houston” brand and

trade name was and is an attempt to create the impression with the public that Defendant’s

activities, services, and sales are sponsored by or affiliated with Plaintiff.       Specifically,

Defendant intended to create the impression that members of Plaintiff have created a new

branch to expand certain versions of Plaintiff’s Pride Events. Defendant has engaged in acts of

unfair competition by intentionally failing disclose to Plaintiff’s supporters, vendors,

consumers, and donors of the difference in the source of Defendant’s “The New Faces of Pride

Houston” business compared to Plaintiff’s “Pride Houston” business through marketing,

advertising, and by soliciting community support and business partnerships without sufficiently

distinguishing Defendant from Plaintiff.

58.     Defendant has made multiple fraudulent and untrue statements and committed tortious

acts in an attempt to interfere with Plaintiff’s rightful commercialization of its “Pride Houston”

brand, trade name, and associated Trademarks. Defendant has contacted Plaintiff’s consumers

directly under the guise of being identical to Plaintiff’s organization. Exhibit 16. Defendant’s

actions were made in an attempt to secure a competitive and commercial advantage over

Plaintiff. Such actions are tortious, wrongful, and illegal. Defendant’s actions are contrary to

honest practice in commercial matters. Defendant’s acts have directly caused, and will continue

to directly cause, harm to Plaintiff.

59.     Unless Defendant’s willful and egregious conduct is enjoined, Plaintiff, as well as

Plaintiff’s goodwill and reputation, will suffer irreparable injury that cannot be adequately


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calculated or compensated solely by money damages.          In fact, Defendant’s unlawful and

infringing conduct has already directly caused Plaintiff harm. Accordingly, Plaintiff seeks

preliminary and permanent injunctive relief, as well as the declaratory action described and

respectfully requested herein.

                                     VI.
  APPLICATION FOR TEMPORARY RESTRAINING ORDER AND TEMPORARY AND PERMANENT
                                 INJUNCTION

60.     As previously discussed, Plaintiff is a nationally and locally-known entertainment

service provider, focusing on hosting Plaintiff’s Pride Events catering to the LGBTQ+

Community.      Plaintiff advertises its services and fundraises primarily on the internet.

Defendant’s board members served as board members for Plaintiff or otherwise assisted

Plaintiff in organizing, marketing, and facilitating Plaintiff’s Pride Events before joining

Defendant’s infringing “The New Faces of Pride Houston” business.

61.     Plaintiff became aware that Defendant had begun infringing upon Plaintiff’s Trademarks

through Defendant’s press releases and social media posts showing Defendant was organizing,

advertising, marketing, and soliciting donations for their infringing organization and competing

social events, and that Defendant had been soliciting donations and accepting registrations from

Plaintiff’s supporters, vendors, and donors by falsely advertising Defendant’s “The New Faces

of Pride Houston” business as a branch of Plaintiff’s “Pride Houston” business, brand, and/or

trade name. Exhibits 1, 9 - 13, 15 - 17. The most significant of these violations are Defendant’s

several instances of trademark infringement, which, if not cured, would cause confusion

amongst consumers as to Plaintiff’s ownership of its Trademarks, brand, and trade name and

further serve to dilute Plaintiff’s Trademarks, brand, and trade name. In fact, Defendant has


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already caused such confusion among the general public and Plaintiff’s supporters, vendors,

consumers, and donors, thereby negatively affecting Plaintiff’s goodwill and good business

reputation in direct violation of the Lanham Act. Exhibit 16.

62.     If Defendant is allowed to continue operating in their current form, Plaintiff will waive

many of the trademark laws enacted to protect Plaintiff’s original works from competitors and

infringers. Not only does Plaintiff have no reason to believe that Defendant will stop its

infringing activity, regardless of any potential civil liability for which Defendant may be found

liable, Defendant has openly stated that it intends to continue to infringe. Exhibit 17 (“Cotton

acknowledged receiving the cease-and-desist letter but denied that New Faces of Pride Houston

is infringing on the trademarks of Pride Houston, calling them ‘very vague trademarks.’”).

63.     Defendant also acknowledges splitting off from Plaintiff’s employ to specifically

improperly utilize Plaintiff’s brand, trade name, and resources. Exhibit 17 (“Cotton said he and

fellow board member Jill Maxwell, a former board member for Pride Houston, led the launch of

the new group because of turmoil associated with Pride Houston.”). This, in conjunction with

Defendant deliberately changing its business name to include Plaintiff’s “Pride Houston” brand

and trade name, as well as Defendant’s immediate use of social media tags identical to

Plaintiff’s Trademarks, demonstrate a coordinated plan executed by Defendant to unlawfully

infringe and gain an unfair market advantage over Plaintiff. Exhibits 1, 9 - 13, 15 - 17. Plaintiff

now files this Application for a Temporary Restraining Order to prevent such unlawful and

infringing activity and conduct.

64.     Plaintiff requests this Court issue a Temporary Restraining Order preventing Defendant

from marketing, advertising, fundraising, or soliciting donations, supports, and vendors in


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relation to Defendant’s infringing “The New Faces of Pride Houston” business.             Further,

Plaintiff respectfully requests this Court issue a Temporary Restraining Order to prevent

Defendant from advertising Defendant’s infringing “The New Faces of Pride Houston”

business, soliciting any more of Plaintiff’s supporters’ donations in relation to Defendant’s

infringing use of same or Defendant’s competing social events, or using any of Plaintiff’s

Trademarks in any capacity whatsoever.

65.      Plaintiff further requests this Court issue a Temporary Restraining Order to enjoin

Defendants from marketing or promoting any events, or accepting participant registrations for

any events, that improperly publishes, displays, or in any way uses Plaintiff’s Trademarks in the

event name, social media tags, or other marketing, information, and/or other materials. Exhibits

2 - 6.

66.      Plaintiff further requests that this Court issue a Temporary Restraining Order to enjoin

Defendants from claiming to be the “official Houston Pride” organization in any capacity.

67.      Plaintiff respectfully requests this Court grant this Temporary Restraining Order in order

to protect Plaintiff’s federally registered and long-held Trademarks until such time as an

evidentiary hearing may be heard by the Court.

68.      Defendant’s continued advertisement of its infringing “The New Faces of Pride

Houston” business and use of Plaintiff’s Trademarks, goodwill, good business reputation,

brand, and trade name is causing Plaintiff irreparable harm. Defendant’s infringing “The New

Faces of Pride Houston” business and name causes confusion of ownership with Plaintiff’s

Trademarks and enables Defendant to continue in their current infringing activities to dilute

same. Exhibit 16. If allowed to continue its infringing activities, Defendant’s actions will


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destroy all of the trademark protection afforded Plaintiff under applicable law. This harm is

ongoing and imminent. Plaintiff must be allowed to fiercely protect its intellectual property.

69.     The injury faced by Plaintiff is insurmountable.        The burden of shutting down

Defendant’s infringing activities is outweighed by the benefit of protecting Plaintiff’s

Trademarks. There is no other adequate remedy at law. Damages at this point cannot be

calculated should Plaintiff suffer confusion and dilution of its Trademarks.          There is a

substantial likelihood of success on the merits of this case. A review of Plaintiff’s “Pride

Houston” business and Plaintiff’s corresponding Trademarks, brand, and trade name, as well as

Defendant’s blatantly infringing “The New Faces of Pride Houston” business, trade name, and

commercial activities, establishes trademark infringement. Exhibits 1, 9 - 13, 15 - 17.

70.     Granting the relief requested would not adversely affect public policy or public interest.

Davidoff & CIE v. PLD International Corp., 263 F.3d 1297, 1304 (11th Cir. 2001) (stating that

in trademark infringement suit, public interest was served when injunction prevented consumer

confusion in the marketplace).

71.     This Court has authority to grant a temporary restraining order without notice to the

adverse party if “specific facts shown by affidavit or by the verified complaint clearly show that

immediate and irreparable injury, loss, or damage will result to the movant before the adverse

party can be heard in opposition,” and “the movant’s attorney certifies in writing any efforts

made to give notice and reasons why it should not be required.” FRCP 65(b)(1).

72.     In support of its Application, Plaintiff attaches the Declarations of Kendra Walker and

Attorney Jamison B. Walters, the cease and desist letter previously delivered by Plaintiff’s

counsel to Defendant on October 11, 2023, and the Houston Public Media Article where Bryan


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Cotton, a Director of Defendant, is reported as follows: “Cotton acknowledged receiving the

cease-and-desist letter but denied that New Faces of Pride Houston is infringing on the

trademarks of Pride Houston, calling them "very vague trademarks.” Exhibits 1, 16, 17 18, 19.

73.     Defendant was provided ample notice that Plaintiff intended to file a lawsuit and would

seek to enjoin Defendant from using Plaintiff’s Trademarks, and completely failed and refused

to respond to same, opting instead to respond through local public media of Defendant’s intent

to continue to unlawfully infringe upon Plaintiff’s intellectual property rights. Exhibits 17, 18,

19.

74.     Defendant continues to solicit Plaintiff’s consumers and donors on a daily basis, and

intends to begin registering participants in most significant, and infringing, social event, the

unlawfully named “Houston Pride Parade and Festival”, starting on November 1, 2023.

Exhibit 13.

75.     While Plaintiff believes that no bond is necessary, upon a finding by this Court that a

bond is necessary, Plaintiff will post bond. In the case the Court finds a bond should be posted,

Plaintiff believes the bond should be set at a nominal amount given Defendant’s egregious and

clearly unlawful, infringing activities.

76.     Plaintiff further requests this Court to set its Application for a Temporary Injunction for

a hearing.    After said hearing, Plaintiff requests this Court to issue an injunction against

Defendant precluding them from marketing, advertising, soliciting donations, or offering for

sale services related to Defendant’s infringing “The New Faces of Pride Houston” business.

77.     Plaintiff further requests that this Court set its Application for a Permanent Injunction

for a full evidentiary trial on the merits. After said hearing, Plaintiff requests the Court issue a


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Permanent Injunction against Defendant, precluding them from marketing, advertising,

soliciting donations, or offering for sale services related to Defendant’s infringing “The New

Faces of Pride Houston” business.

78.      After a trial on the merits, Defendant will prove that Defendant’s infringing “The New

Faces of Pride Houston” business is confusingly similar to Plaintiff’s “Pride Houston” brand

and trade name, as well as Plaintiff’s Trademarks and associated Plaintiff’s Pride Events.

Further, Defendant will also prove that Defendant has no rights or legitimate interests in respect

of Plaintiff’s Trademarks, brand, or trade name; and that Defendant’s infringing activities have

been committed in bad faith. Once these elements are proven, Plaintiff requests this Court to

enter an Order to permanently prevent Defendant from ever marketing, advertising, soliciting

donations, or offering for sale services related to Defendant’s infringing “The New Faces of

Pride Houston” business.

                                               VII
                                       ATTORNEY’S FEES

79.      The allegations contained in the preceding Paragraphs of this Complaint are

incorporated by reference herein as if set forth verbatim.

80.      The recovery of attorneys’ fees for trademark infringement is authorized by the

provisions of 15 U.S.C. § 1117 and the Texas Civil Practice and Remedies Code §§ 38.001, et

seq.

81.      As a result of Defendant’s unlawful actions, Plaintiff has been required to obtain legal

counsel to bring this suit and is therefore entitled to reasonable attorneys’ fees that may be

awarded by this Court.



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                                               VIII
                                           PRAYER

       WHEREFORE, Plaintiff Pride Houston, Inc. prays for judgment against Defendant The

New Faces of Pride Houston, Inc. as follows:

   A. Plaintiff requests this Court to enter an Order granting an ex parte temporary restraining

       order, preliminary, and permanent injunctive relief to stop the ongoing infringement of

       Plaintiff’s Trademarks, brand, and trade name;

   B. A Court decree that Plaintiff is the exclusive owner of Plaintiff’s “Pride Houston”,

       “Houston Pride Parade”, and “Houston Pride Festival” trademarks, as identified in the

       Complaint;

   C. A Court decree that Defendant violated the Lanham Act, 15 U.S.C. § 1125(a), and that

       Defendant’s infringing actions were intended to cause confusion, have caused confusion,

       and will continue to cause confusion unless enjoined. Plaintiff requests this Court to

       grant it damages for its actual damages, as well as disgorgement of Defendant’s profits

       from such infringement;

   D. Plaintiff requests this Court to enter an Order granting preliminary and permanent

       injunctive relief to stop Defendant’s ongoing unfair competition;

   E. An Order enjoining Defendant from advertising, distributing, selling, or offering for sale

       Defendant’s infringing “The New Faces of Pride Houston” products, services, or social

       events;

   F. An award of damages and profits arising from Defendant’s trademark dilution and unfair

       competition, such damages to be trebled in view of the willfulness of Defendant’s acts in



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       infringing upon Plaintiff’s trademark and willful and intentional selling of Defendant’s

       infringing “The New Faces of Pride Houston” products, services, and social events;

   G. A Court decree that Defendant willfully intended to trade on Plaintiff’s reputation and/or

       to cause dilution of Plaintiff’s trademarks. Plaintiff requests this Court to award it

       damages, as well as Defendant’s profits received as a result of the infringement,

       pursuant to 15 U.S.C. § 1117(a);

   H. A Court decree granting preliminary and permanent injunctive relief pursuant to 15

       U.S.C. § 1116 and 15 U.S.C. § 1125 (c)(1) against Defendant;

   I. A court decree that Defendant violated the Texas Business and Commerce Code by

       means of unfair competition under the Texas common law by intentionally failing to

       inform Plaintiff's customers of the difference in the source of the services and by

       soliciting Plaintiff’s customers, through nefarious and deceptive practices and acts,

       without distinguishing Defendant’s services from those of Plaintiff.       Accordingly,

       Plaintiff requests this Court to award it monetary damages, as well as preliminary and

       permanent injunctive relief;

   J. A declaratory judgment that: (i) Plaintiff has full rights in Plaintiff’s own Trademarks;

       (ii) Defendant’s representations that Defendant, rather than Plaintiff, hold the right to

       Plaintiff’s Trademarks is baseless, unfounded, and wholly untrue; (iii) Defendant’s

       conduct infringes upon Plaintiff’s Trademarks in violation of the Lanham Act; (iv) that

       said violations are causing Plaintiff to suffer immediate and unquantifiable harm,

       including confusion and dilution of Plaintiff’s Trademarks; and (v) that Defendant’s

       actions were willful and intended to cause confusion, have caused confusion, and will


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       continue to cause confusion unless enjoined;

   K. An award of all costs expended in this suit;

   L. An award of attorneys’ fees and expenses incurred in connection with this civil action;

   M. Pre- and post-judgment interest; and,

   N. All such other and further relief, special or general, at law or in equity, to which Plaintiff

       may show itself to be justly entitled.



                                                      Respectfully Submitted,

                                                      KEARNEY, MCWILLIAMS & DAVIS, PLLC

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